         Case 2:96-cr-00977-RAP ITED
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Case No:      CR 96-977(A)-RAP
                                 m
                                TRAL DISTRICT OF CALIFOR
                               CRIMINAL MINUTES - GENERAL

                                                                  Date: June 26. 199i
                                                                                                          L
PRESENT:      HONORABLE         RICHARD A. PAEZ                     JUDGE

         Jim Haaerman                       Sandra Becerra                     Stephen Larson
         Deputy C l e r k                  Court Reporter                    A s s t . U. S. A t t o r n e y
       Russian I n t e r p r e t e r : Lana P h i l l i p s

U.S.A. vs ( D e f t s . l i s t e d   below)               A t t o r n e y s f o r Defendants

        SERGUEI ADONIEV                                    1)     Stephen London
 X     pres      custody X              bond                X     pres.   apptd            X      retn

PROCEEDINGS: SENTENCING                 (Please see a t t a c h e d judgment & coimnitment o r d e r )

          Case i s c a l l e d f o r h e a r i n g . The Court hears o r a l argument, The Court
pronounces sentence as f o l l o w s : t h e defendant, SERGUEI ADONIEV, i s hereby
committed on COUNTS ONE (1) through EIGHT (8) t o the custody o f t h eBureau o f
P r i s o n s t o be i m p r i s o n e d f o r a term o f THIRTY (30) MONTHS,             This term
c o n s i s t s o f 30 months on each o f counts 1 t h r o u g h 8 t o be served
c o n c u r r e n t l y . Upon r e l e a s e from imprisonment, t h e defendant s h a l l be p l a c e d
on s u p e r v i s e d r e l e a s e f o r a term o f THREE (3) YEARS. This term con s i s t s o f 3
years on each o f counts 1 t h r o u g h 8, a l l such terms t o r u n concur r e n t l y and
under t h e f o l l o w i n g terms and c o n d i t i o n s :

          Government's m o t i o n t o d i s m i s s any r e m a i n i n g counts i n t h e i n t e r e s t o f
j u s t i c e i s granted.

       Defendant waives h i s r i g h t t o appeal.

       Bond i s e x o n e r a t e d upon t h e s u r r e n d e r o f t h e defendant.




MINUTES FORM 6
CRIM - GEN                                                 I n i t i a l s o f Deputy C l e r k
